Case 5:17-cv-00061-JRW-LLK           Document 66    Filed 04/01/20     Page 1 of 1 PageID #:
                                            535



                            UNITED STATES DISTRICT COURT
                            WESTERN DISTRICT OF KENTUCKY
                                 PADUCAH DIVISION


DIPPIN’ DOTS, LLC,              :
                                :
    Plaintiff,                  :
vs.                             : CASE NO: 5:17-CV-61-JRW-LLK
                                :
TRAVELERS PROPERTY CASUALTY     :
COMPANY OF AMERICA,             :
                                :
    Defendant.                  :
                                :
                           ********

                             AGREED ORDER OF DISMISSAL

       Come the Plaintiff, Dippin’ Dots, LLC, and the Defendant, Travelers Property Casualty

Company of America, by counsel, and having agreed, IT IS HEREBY ORDERED that all claims

asserted by and against any party are hereby dismissed with prejudice, with each party to bear

their own costs and attorney fees.




HAVE SEEN AND AGREED TO:


/s/ Stephen C. Keller, Esq.                     /s/ Michael Avery, Esq. (with permission)
Stephen C. Keller, Esq.                         Michael Avery, Esq.
Counsel for Defendant,                          Counsel for Plaintiff,
Travelers Property Casualty Company             Dippin’ Dots, LLC
of America
